           Case 18-10926-amc                  Doc
                                               Filed 02/28/24 Entered 02/28/24 18:12:04                                      Desc Main
                                               Document
  «AddressBlock»Fill in this information to identify the case:
                                                               Page 1 of 6


  Debtor 1: Lorrie-Ann D Thorne
  Debtor 2:
  (Spouse, if filing)
  United States Bankruptcy Court for the: Eastern District of Pennsylvania
  Case number: 18-10926


  Official Form 410S1                                                                                                                   Chapter 13

 Notice of Mortgage Payment Change                                                                                                            12/15


If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of Creditor: Bank Of America, N.A.,                                     Court claim no. (if known): 1-1

 Last four digits of any number                                               Date of payment change:            04/01/2024
 you use to identify the debtor’s           7318
                                                                              Must be at least 21 days after
 account:
                                                                              date of this notice
                                                                                                                 $1,024.08
                                                                              New total payment:                 Principal, interest and escrow, if any
 Part 1: Escrow Account Payment Adjustment


 Will there be a change in the debtor’s escrow account payment?         Yes

 Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe the basis for the change.
 If a statement is not attached, explain why:

                         Current Escrow Payment:     $212.35                                        New Escrow Payment:        $324.94

 Part 2: Mortgage Payment Adjustment


 Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s variable-rate note? No

 Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law.
 If a notice is not attached, explain why:

                                Current Interest Rate:                                                       New Interest Rate:

                        Current principal and interest payment:                                   New principal and interest payment:

 Part 3: Other Payment Change


 Will there be a change in the debtor’s mortgage payment for a reason not listed above? No

 Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
 (Court approval may be required before the payment change can take effect.)

 Reason for change:

                             Current mortgage payment:                                                  New mortgage payment:
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Debtor 1: Lorrie-Ann D Thorne                                                   Case number (if known): 18-10926




Part 4: Sign Here


The person completing the Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number if
Different from the notice address listed on the proof of claim to which this Supplement applies.

Check the appropriate box:

     I am the creditor        X     I am the creditor’s authorized agent

                                  (Attach copy of Power of Attorney, if any.)

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge, information and
reasonable belief.



/s/ Tawakoni Hill                                                               Date: Feb 28, 2024
Signature

Print:   Tawakoni Hill                                                          Title: Authorized Agent


Company:     Liepold, Harrison & Associates


Address:    1425 Greenway Drive, Suite 250
            Irving, TX 75038

Contact Phone:                                                                  Email:   PCNInquiries@lha-law.com
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                                UNITED STATES BANKRUPTCY COURT
                                  Eastern DISTRICT OF Pennsylvania



 In Re:                                                                    Case No. 18-10926

 Lorrie-Ann D Thorne

                                                                           Chapter 13

                Debtor(s)

                                      CERTIFICATE OF SERVICE
I hereby certify that on 02/28/2024, a true and correct copy of the foregoing Notice of Mortgage Payment
Change was served upon all interested parties pursuant to the Court’s CM/ECF system and/or by First Class
U.S. Mail.



                                                   By: /s/ Tawakoni Hill

                                                    Authorized Agent for Creditor
                                                     Liepold,Harrison and Associates
                                                    1425 Greenway Drive, Suite 250
                                                    Irving, TX 75038
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Debtor
Lorrie-Ann D Thorne
6717 Haverford Avenue
Philadelphia, PA 19151




Debtor’s Counsel
Michael A. Cibik
1500 Walnut Street Suite 900
Philadelphia, PA 19102

Trustee
Scott F. Waterman
2901 St. Lawrence Ave. Suite 100
Reading, PA 19606

U.S. Trustee
Office of the United States Trustee
Robert N.C. Nix Federal Building Suite 320
Philadelphia, PA 19107
       Case 18-10926-amc                  Doc       Filed 02/28/24 Entered 02/28/24 18:12:04                        Desc Main
                            CARRINGTON MORTGAGE SERVICES, LLC
                            P.O. Box 5001           Document      Page 5 of 6
                            Westfield, IN 46074


(800) 561-4567           FAX: (949) 517-5220




                                                        /P1            /    680
LORRIE ANN THORNE                                                           YOUR LOAN NUMBER :
6717 HAVERFORD AVE
                                                                            DATE: 01/19/24
PHILADELPHIA                  PA 19151




*** ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - LAST CYCLES ESCROW ACCOUNT HISTORY                                             ***

THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE
ACTUAL ESCROW ACTIVITY BEGINNING APRIL, 2023 AND ENDING MARCH, 2024. IF YOUR LOAN
WAS PAID-OFF, ASSUMED, OR TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS
BEING CHANGED, ACTUAL ACTIVITY STOPS AT THAT POINT. THIS STATEMENT IS INFORMATIONAL ONLY
AND REQUIRES NO ACTION ON YOUR PART.
                            - - - Y OUR PAY M E NT BR E AK DOW N AS OF APR I L, 2 0 2 3 I S - - -
                            PRIN & INTEREST                                  699.14
                            ESCROW PAYMENT                                   212.35
                            TOTAL                                            911.49
            -- PAYMENTS TO ESCROW --     -- PAYMENTS FROM ESCROW --               -- ESCROW BALANCE --
MONTH       PRIOR PROJECTED ACTUAL PRIOR PROJECTED DESCRIPTION ACTUAL DESCRIPTION PRIOR PROJECTED ACTUAL
                                                                   STARTING BALANCE      = = = >        0.00           2135.10-
APR                     *        212.35                                                                                1922.75- ALP
MAY                     *        424.70                                                                                1498.05-
JUN                     *        212.35                                                                                1285.70-
JUL                     *        424.70                                                                                 861.00-
AUG                     *        212.35                                                                                 648.65-
SEP                     *        424.70                                                                                 223.95-
OCT                     *        212.35                                                                                  11.60-
DEC                     *        637.05                                                                                 625.45
TOT              0.00           2760.55          0.00                          0.00
UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHES ITS LOWEST POINT, THAT BALANCE IS TARGETED
NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE LAW MAY
SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.
UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT ESCROW BALANCE
(TLP) WAS $0.00. YOUR ACTUAL LOW POINT ESCROW BALANCE (ALP) WAS $1,922.75-.
BY COMPARING THE PROJECTED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN
DETERMINE WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE
AMOUNT OR DATE OF THE PROJECTED ACTIVITY AND THE ACTUAL ACTIVITY.
IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION
TO WHICH THE ACTUAL ACTIVITY COULD BE COMPARED.




           ***     ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - PROJECTIONS                         ***
                PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED.
THIS STATEMENT TELLS YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR
ANY SHORTAGE OR DEFICIENCY THAT YOU MUST PAY. IT ALSO SHOWS YOU THE PROJECTED ESCROW
A C T I V I T Y F O R Y O U R E S C R O W C Y C L E B E G I N N I N G A P R I L, 2 0 2 4 A N D E N D I N G M A R C H, 2 0 2 5.
---------------------   PROJECTED PAYMENTS FROM ESCROW - APRIL, 2024 THROUGH MARCH,2025                        --------------
                            HOMEOWNERS INSU                                  1,861.79
                            CITY TAX                                         1,108.64

                            TOTAL                                            2,970.43
                            PERIODIC PAYMENT TO ESCROW                         247.53      (1/12 OF "TOTAL FROM ESCROW")

-------------------- PROJECT ED ESCROW ACT IVIT Y - APRIL, 2024 T HROUGH M ARCH, 2025 -----------------------
               ---- PROJECTED PAYMENTS --                             -- ESCROW BALANCE COMPARISON --
MONTH          TO ESCROW       FROM ESCROW       DESCRIPTION        PROJECTED         REQUIRED
                                ACTUAL STARTING BALANCE = = = >          433.83-          495.13
APR,24           247.53                                                               186.30-             742.66
MAY,24           247.53                                                                61.23              990.19
JUN,24           247.53                                                               308.76            1,237.72
JUL,24           247.53                                                               556.29            1,485.25
AUG,24           247.53                                                               803.82            1,732.78
SEP,24           247.53                                                             1,051.35            1,980.31
OCT,24           247.53                                                             1,298.88            2,227.84
NOV,24           247.53                                                             1,546.41            2,475.37
DEC,24           247.53                                                             1,793.94            2,722.90
JAN,25           247.53                                                             2,041.47            2,970.43
FEB,25           247.53               1,861.79          HOMEOWNERS INSU               427.21            1,356.17
MAR,25           247.53               1,108.64          CITY TAX                      433.90- ALP         495.06 RLP


                                          * * * * CONTINUED ON NEXT PAGE * * * *

--------------------------------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE -----------------------------------
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                                                     * * * * CONTINUATION * * * *



IF THE PROJECTED LOW POINT BALANCE (ALP) IS
LESS THAN THE REQUIRED LOW POINT BALANCE (RLP),
THEN THERE IS AN ESCROW SHORTAGE....                                                   THE ESCROW SHORTAGE IS....        928.96- *
* THIS SHORTAGE THAT WILL BECOME PART OF YOUR MONTHLY PAYMENT
W I L L B E C O L L E C T E D F O R A P E R I O D O F 1 2 M O N T H S F R O M A p r i l 1 , 2 0 2 4.


AT THE TIME OF YOUR BANKRUPTCY FILING, YOUR ESCROW SHORTAGE INCLUDED IN THE POC (PROOF OF CLAIM) IS $0.00.

------------------------------------- CALCULATIONS OF YOUR NEW PAYMENT AMOUNT ------------------------------------------------
                          PRIN & INTEREST                                          699.14 *
                          ESCROW PAYMENT                                           247.53
                          SHORTAGE PYMT                                             77.41
BORROWER PAYMENT STARTING WITH THE PAYMENT DUE                   04/01/24         ==>              1,024.08

* IF YOUR LOAN IS AN ADJUSTABLE RATE MORTGAGE, THE PRINCIPAL & INTEREST PORTION OF
  YOUR PAYMENT MAY CHANGE WITHIN THIS CYCLE IN ACCORDANCE WITH YOUR LOAN DOCUMENTS.
NOTE :         YOUR ESCROW BALANCE MAY CONTAIN A CUSHION. A CUSHION IS AN AMOUNT OF MONEY
               HELD IN YOUR ESCROW ACCOUNT TO PREVENT YOUR ESCROW BALANCE FROM BEING OVERDRAWN
               WHEN INCREASES IN THE DISBURSEMENTS OCCUR. FEDERAL LAW AUTHORIZES A MAXIMUM
               ESCROW CUSHION NOT TO EXCEED 1/6TH OF THE TOTAL ANNUAL PROJECTED ESCROW
               D I S B U R S E M E N T S M A D E D U R I N G T H E A B O V E C Y C L E . T H I S A M O U N T I S $ 0 . 0 0.
               YOUR LOAN DOCUMENTS OR STATE LAW MAY REQUIRE A LESSER CUSHION. YOUR MORTGAGE
               CONTRACT AND STATE LAW ARE SILENT ON THIS ISSUE. WHEN YOUR ESCROW BALANCE
               REACHES ITS LOWEST POINT DURING THE ABOVE CYCLE, THAT BALANCE IS TARGETED
               TO BE YOUR CUSHION AMOUNT.
               Y O U R E S C R O W C U S H I O N F O R T H I S C Y C L E I S $ 4 9 5 . 0 6.
  YOUR PROJECTED ESCROW BALANCE CONSISTS OF THE FOLLOWING DETAIL (AN * NEXT TO AN AMOUNT INDICATES
  THIS IS A TOTAL THAT REPRESENTS MORE THAN ONE PAYMENT TO OR DISBURSEMENT FROM ESCROW):

  Escrow pay ments up to escrow analy sis effectiv e date:
 07/23           $212.35                   08/23              $212.35               09/23          $1,486.45*

  Escrow disbursements up to escrow analy sis effectiv e date:
  02/24        $1,861.79        HOMEOWNERS INSURANC
  03/24        $1,108.64        CITY TAX



-VERBAL INQUIRIES & COMPLAINTS-
For verbal inquiries and complaints about your mortgage loan, please contact the CUSTOMER SERVICE DEPARTMENT
for Carrington Mortgage Services, LLC, by calling 1-800-561-4567. The CUSTOMER SERVICE DEPARTMENT for
Carrington Mortgage Services, LLC is toll free and you may call from 8:00 a.m. to 8:00 p.m. Eastern Time,
Monday through Friday. You may also visit our website at https://carringtonmortgage.com/ .

-IMPORTANT BANKRUPTCY NOTICE-
If you have been discharged from personal liability on the mortgage because of bankruptcy
proceedings and have not reaffirmed the mortgage, or if you are the subject of a pending
bankruptcy proceeding, this letter is not an attempt to collect a debt from you but merely
provides informational notice regarding the status of the loan.  If you are represented by
an attorney with respect to your mortgage, please forward this document to your attorney.


-CREDIT REPORTING AND DIRECT DISPUTES-
We may report information about your account to credit bureaus. Late payments, missed payments,
or other defaults on your account may be reflected in your credit report.  As required by law,
you are hereby notified that a negative credit report reflecting on your credit record may be
submitted to a credit reporting agency if you fail to fulfill the terms of your credit
obligations. If you have concerns regarding the accuracy of any information contained in a
consumer report pertaining to this account, you may send a direct dispute to Carrington
Mortgage Services, LLC by fax to 800-486-5134 or in writing to Carrington Mortgage Services,
LLC, and Attention: Customer Service, P.O. Box 5001, Westfield, IN 46074. Please include your
loan number on all pages of the correspondence.

-MINI MIRANDA-
This communication is from a debt collector and it is for the purpose of collecting a debt and
any information obtained will be used for that purpose. This notice is required by the
provisions of the Fair Debt Collection Practices Act and does not imply that we are attempting
to collect money from anyone who has discharged the debt under the bankruptcy laws of the
United States.

-HUD COUNSELOR INFORM AT ION-
If you would like counseling or assistance, you may obtain a list of HUD-approved homeownership
counselors or counseling organizations in your area by calling the HUD nationwide toll-free
telephone number at (800) 569-4287 or toll-free TDD (800) 877-8339, or by going to
http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You can also contact the CFPB at (855) 411-2372, or
by going to www.consumerfinance.gov/find-a-housing-counselor.

-EQUAL CREDIT OPPORTUNITY ACT NOTICE-
The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit
applicants on the basis of race, color, religion, national origin, sex, marital status, or age
(provided the applicant has the capacity to enter into a binding contract); because all or part
of the applicant’s income derives from any public assistance program; or because the applicant
has, in good faith, exercised any right under the Consumer Credit Protection Act. The Federal
Agency that administers Carrington Mortgage Services, LLC's compliance with this law is the
Federal Trade Commission, Equal Credit Opportunity, Washington, DC 20580.

-SCRA DISCLOSURE-
MILITARY PERSONNEL/SERVICEMEMBERS:    If you or your spouse is a member of the military, please contact us
immediately. The federal Servicemembers Civil Relief Act and comparable state laws afford significant protections
and benefits to eligible military service personnel, including protections from foreclosure as well as interest
rate relief. For additional information and to determine eligibility please contact our Military Assistance Team
toll free at 1-888-267-5474.

-NOTICES OF ERROR AND INFORMATION REQUESTS, QUALIFIED WRITTEN REQUESTS (QWR)-
Written complaints and inquiries classified as Notices of Error and Information Requests or QWRs must be submitted
to Carrington Mortgage Services, LLC by fax to 800-486-5134, or in writing to Carrington Mortgage Services, LLC,
and Attention: Customer Service, P.O. Box 5001, Westfield, IN 46074. Please include your loan number on all pages
of the correspondence.   You have the right to request documents we relied upon in reaching our determination. You
may request such documents or receive further assistance by contacting the CUSTOMER SERVICE DEPARTMENT for
Carrington Mortgage Services, LLC toll free at (800) 561-4567, Monday through Friday, 8:00 a.m. to 8:00 p.m.
Eastern Time. You may also visit our website at https://carringtonmortgage.com/
